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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 ARM LTD.,                                         )
                                                   )
                       Plaintiff,                  )
                                                   )
        v.                                         )    C.A. No. 22-1146 (MN)
                                                   )
 QUALCOMM INC., QUALCOMM                           )
 TECHNOLOGIES, INC. and NUVIA, INC.,               )
                                                   )
                       Defendants.                 )

  DEFENDANTS’ MOTION FOR EXEMPTION OF PERSONS FROM THE DISTRICT
   OF DELAWARE’S MAY 17, 2024 STANDING ORDER ON PERSONAL DEVICES

        Defendants Qualcomm Inc., Qualcomm Technologies, Inc. and Nuvia, Inc. move for an

 order to exempt certain persons from the District of Delaware’s May 17, 2024 Standing Order on

 Procedures Regarding the Possession and Use of Cameras and Personal Electronic Devices by

 Visitors to the J. Caleb Boggs Federal Building and United States Courthouse (the “May 17, 2024

 Standing Order”). In support of this Motion, Defendants state as follows:

        1.     The District of Delaware’s May 17, 2024 Standing Order provides procedures to

 regulate the possession and use of personal electronic devices by visitors to the J. Caleb Boggs

 Federal Building and United States Courthouse, which require inter alia, for visitors to place

 personal electronic devices in a locked pouch provided by U.S. Marshals. Paragraph 4 of the May

 17, 2024 Standing Order provides for certain exemptions to the Standing Order.

        2.     Jury selection and courtroom setup is scheduled for December 13, 2024 in

 Courtroom 4A.

        3.     A 5-day jury trial is scheduled in this case from December 16-20, 2024 in

 Courtroom 4A.
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        4.      The following trial counsel, staff, trial consultants, and witnesses intend to appear

  at jury selection, courtroom setup and/or the trial intend to appear at the hearing, require access

  to their electronic devices, but do not have state-issued bar cards or otherwise meet the exemptions

  listed in Paragraph 4 of the May 17, 2024 Standing Order:


                   Jacob Apkon, Esquire

                   Jacob Braly, Esquire

                   Anna Lipin, Esquire

                   William Marks, Esquire

                   Catherine Nyarady, Esquire

                   Melissa Zappala, Esquire

                   Alicia Brown, Paralegal

                   Aaryan Gulati, Paralegal

                   Daniel O’Neil, Paralegal

                   Annalyn St. Ledger, Paralegal

                   Julia Douglas, Trial Technician

                   Matt Spaulding, Trial Technician

                   Ann Chaplin, Esquire (client Representative)

                   Chris Longman, Esquire (client representative)

                   Kurt Kjelland, Esquire (client representative)

        WHEREFORE, Defendants respectfully request that the Court issue an order to exempt the

 above-listed persons from the District of Delaware’s May 17, 2024 Standing Order.
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                                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                          /s/ Jennifer Ying
                                          __________________________________
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                                          tmurray@morrisnichols.com
 December 11, 2024                        Attorneys for Defendants


                         11th
       SO ORDERED, this ___________         December
                                    day of _____________________, 2024.



                                       __________________________________________
                                       J.
